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uNlTED sTATEs oF AMERicA, * " i‘f‘ ii=*HlS
Piaintiff, *
vs. * criminal No. 02-20219-0 A
DAN|EL KYLE PoND, *
Defendant. *

 

PREL|M|NARY ORDER OF FORFE|TURE

 

In indictment Number 02-20219-D A, the United States sought forfeiture of specific
property of defendant Danie| Kyle Pond, pursuant to 18 U.S.C. §§ 2252 and 2423. On
August 29. 2003, the defendant, Daniel Kyle Pond. entered a plea of guilty to Counts 1-10
and the forfeiture in Count 11 of the |ndictment.

According|y, lt is ORDERED:

1. Based upon the defendants guilty plea to Counts 1-10 and the forfeiture in
Count 11 of the |ndictment Number 02-20219-D A, the United States is authorized to seize
the following property belonging to defendant Danie| Ky|e Pond, and his interest in it is
hereby forfeited to the United States for disposition in accordance with the |aw, subject to
the provisions of 21 U.S.C. §853(n) and Ru|e 32(d)(2) of the Federa| Ru|es of Criminal
Procedure:

a. Any visual depiction described in Section 2252 of Tit|e 18 United States

Code, and any book, magazine, periodica|, film, videotape, and other matter which contains

This document entered on the docket heet' in compliance
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any such visual depiction, which was produced, transported, mailed, shipped , or received
in violation of the abovesaid statute;

b. Any property, real or personal, constituting ortraceab|e to gross profits
or other proceeds obtained from the abovesaid offenses; and

c. Any property, real or personal, used or intended to be used to commit
or to promote the commission of the above said offenses, including but not limited to the
following:

1) One (1) l-lew|ett Packard Pavilion ZT1130 laptop
computer, serial number, TW20516989;

2) One (1) 1996 Green Chevro|et Pickup Truck,
bearing Tennessee license plate no. GKG315;

All pursuant to Title 18, United States Code, Section 2253.

2. The forfeited property is to be held by the United States Marsha| in his secure
custody, or, as may be necessary, the Attorney General may appoint a substitute custodian.

3. Pursuant to 21 U.S.C. §853(n)(1), the United States Nlarshal shall publish at
least once a week for three successive weeks in a newspaper of general circulation in
Shelby Count, Tennessee, notice of this order, notice of the United States’ intent to dispose
of the property in such manner as the Attorney Genera| or his delegate may direct, and
notice that any person, other than the defendant, having or claiming a legal interest in any
of the above-listed forfeited property must file a petition with the court within thirty (30) days
of the final publication of notice or of receipt of actual notice, whichever is earlier. This
notice shall state that the petition shall be for a hearing to adjudicate the validity of the
petitioner’s alleged interest in the property, shall be signed by the petitioner under penalty
of perjury, and shall set forth the nature and extent of the petitioner's right, title or interest

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in each of the forfeited properties and any additional facts supporting the petitioner’s claim
and the relief sought. The United States Marsha| or his delegate may use the attached
Lega| Notice.

The United States may also, to the extent practicable, provide direct written notice
to any person known to have alleged an interest in property that is the subject of this
Preliminary Order of Forfeiture, as a substitute for published notice as to those persons so
notified.

4. Pursuant to Fed. R. Crim. P. 32.2(b)(3), this Preliminary Order of Forfeiture
shall become final as to the defendant at the time of sentencing and shall be made part of
the sentence and included in the judgment.

5. |f no third party files a timely claim, this Order shall become the Final Order
of Forfeiture, as provided by Fed. R. Crim. P. 32.2(0)(2).

6. The United States shall have clear title to the Subject Property following the
Court's disposition of all third-party interests, or, if none, following the expiration of the
period provided in 21 U.S.C. §853(n)(2), which is incorporated by 18U.S.C. §982(b) and 28
U.S.C. §2461(0), for the filing of third party petitions.

7. The Court shall retain jurisdiction to enforce this Order, and to amend it as
necessary, pursuant to Fed. R. Crim. P. 32.2(e).

|T |S SO ORDERED this [ 2 /A day of , 2005.

    

nice B. Do ald
ited States District Judge

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PRESENTED BV:

TERRELL L. HARR|S

United States lady
By: fMV

c lsro`i$ill§a E. coTTEN
ssistant United States Attorney

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|N THE UN|TED STATES D|STRICT COURT
FOR THE WESTERN D|STR|CT OF TENNESSEE
WESTERN D|V|S|ON

*-

UNITED STATES OF AMERICA,

 

 

Plaintiff, *
vs. * Crlminal No. 02-20219-D A
DANlEL KYLE POND *
Defendant. *
LEGAL NOTICE
Take notice that on , the United States District Court for the

 

Western District of Tennessee, Western Division, entered a Preliminary Order of Forfeiture
ordering that all right, title and interest of the defendant Daniel Ky|e Pond in the following
property be forfeited to the United States to be disposed of in accordance with |aw:

(a) any visual depiction described in Section 2252 of Title 18 United States
Code, and any book, magazine, period ical, firm, videotape, and other matterwhich contains
any such visual depiction, which was produced, transported, mailed, shipped, or received
in violation of the above said statute;

(b) any property, real or personal, constituting or traceable to gross profits of
other proceeds obtained from the above said offenses; and

(c) any property, real or personal, used or intended to be used to commit or to

promote the commission of the above said offenses, including but not limited to the

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following:
(1) One (1) Hewlett Packard Pavi|ion ZT113O laptop computer, serial
number, TW20516989;
(2) One (1) 1996 Green Chevro|et Pickup Truck, bearing Tennessee
license plate no. GKGS15.

Al| pursuant to Tit|e 18, United States Code, Section 2253.

The United States intends to dispose of this property in such matter as the Attorney
Genera| or his delegate may direct. Any person, other than the defendant, having or
claiming a legal interest in the above-listed forfeited property must file a petition with the
Court within thirty (30) days of the final publication of this notice or of receipt of actual
notice, whichever is earlier. The petition shall be for a hearing to adjudicate the validity of
the petitioner’s alleged interest in the property, shall be signed by the petitioner under
penalty of perjury, and shall set forth the nature and extent of the petitioner’s right, title, or
interest in each of the forfeited properties and any additional facts supporting the petitioner’s

claim and relief sought.

 

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 87 in
case 2:02-CR-202]9 Was distributed by faX, mail, or direct printing on
August 18, 2005 to the parties listed.

 

Dan NeWsom

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Christopher E. Cotten

U.S. ATTORNEY'S OFFICE
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Honorable Bernice Donald
US DISTRICT COURT

